             Case 2:20-cv-00280-TOR                  ECF No. 10          filed 10/19/20     PageID.44 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_
                                                     Eastern District of Washington


                  CALVIN JAMES HINES,                                )
                             Plaintiff                               )
                                v.                                   )       Civil Action No.     2:20-CV-0280-TOR
                                                                     )
ASOTIN COUNTY and the ASOTIN COUNTY BOARD                            )
           OF COMMISSIONERS,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other:
’              The Complaint and all claims against both named Defendants are DISMISSED without prejudice.




This action was (check one):

’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge                                   THOMAS O. RICE                            on Defendants' Motion to
      Dismiss (ECF Nos. 8)


Date:      October 19, 2020                                                 CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Linda L. Hansen
                                                                                          (By) Deputy Clerk

                                                                            Linda L. Hansen
